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    1   Marc M. Seltzer (54534)
        mseltzer@susmangodfrey.com
    2   SUSMAN GODFREY L.L.P.
        1900 Avenue of the Stars, Suite 1400
    3   Los Angeles, CA 90067-6029
        Phone: (310) 789-3100
    4   Fax: (310) 789-3150
    5   Scott Martin (Pro Hac Vice)
        smartin@hausfeld.com
    6   HAUSFELD LLP
        33 Whitehall Street, 14th Floor
    7   New York, NY 10004
        Tel: (646) 357-1100
    8   Fax: (212) 202-4322
    9   Howard Langer (Pro Hac Vice)
        hlanger@langergrogan.com
   10   LANGER GROGAN AND DIVER PC
        1717 Arch Street, Suite 4020
   11   Philadelphia, PA 19103
        Tel: (215) 320-5660
   12   Fax: (215) 320-5703
   13   [Additional Counsel listed in Signature
        Page]
   14
        Plaintiffs’ Co-Lead Class Counsel
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   16                       UNITED STATES DISTRICT COURT
   17                     CENTRAL DISTRICT OF CALIFORNIA
   18   IN RE: NATIONAL FOOTBALL                  CASE NO.: 2:15-ml-02668−PSG
        LEAGUE’S “SUNDAY TICKET”                  (JEMx)
   19   ANTITRUST LITIGATION
                                                  DISCOVERY MATTER
   20
                                                  NOTICE OF MOTION AND
   21   THIS DOCUMENT RELATES TO                  MOTION REGARDING
        ALL ACTIONS                               PLAINTIFFS’ MOTION TO
   22                                             COMPEL PRODUCTION OF
                                                  DOCUMENTS ON NFL’S
   23                                             SUPPLEMENTAL PRIVILEGE
                                                  LOG
   24
                                                  Magistrate Judge: Hon. John E.
   25                                             McDermott
                                                  Date/Time: 10/24/2023, 10:00 a.m.
   26                                             Discovery Cutoff Date: 8/5/2022
                                                  Pretrial-Conference Date: 2/9/2024
   27                                             Trial Date: 2/22/2024
   28
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    1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
    2         PLEASE TAKE NOTICE that on October 24, 2023 at 10:00 a.m., or as soon
    3   thereafter as this matter may be heard, Plaintiffs, on behalf themselves and all others
    4   similarly situated, will and hereby respectfully move for an order to compel the
    5   production of documents on the NFL’s Supplemental Privilege Log. In the
    6   alternative, Plaintiffs request that this Court conduct in camera review of the
    7   documents at issue.
    8         This Motion will be heard in the Courtroom of the Honorable John E.
    9   McDermott for the United States District Court in the Central District of California.
   10   The Court is located at the Roybal Federal Building and United States Courthouse,
   11   255 E. Temple Street, Los Angeles, California 90012, Courtroom 640, 6th Floor.
   12         This Motion is based upon this notice, the concurrently filed joint stipulation,
   13   the exhibits and declarations attached thereto, the pleadings and records on file in this
   14   action and such other matters as the Court deems necessary and proper.
   15         This Motion is made following conferences of counsel pursuant to Local Rule
   16   7-3 which took place on August 3, August 30, September 6, September 7, and
   17   September 8.
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   20   DATED: October 3, 2023                          By:   /s/ Farhad Mirzadeh
                                                              Farhad Mirzadeh
   21
                                                       Marc M. Seltzer (54534)
   22                                                  mseltzer@susmangodfrey.com
                                                       SUSMAN GODFREY L.L.P.
   23                                                  1900 Avenue of the Stars, Suite 1400
                                                       Los Angeles, CA 90067
   24                                                  Tel: (310) 789-3100
                                                       Fax: (310) 789-3150
   25
                                                       William C. Carmody (Pro Hac Vice)
   26                                                  bcarmody@susmangodfrey.com
                                                       Seth Ard (Pro Hac Vice)
   27                                                  sard@susmangodfrey.com
                                                       Tyler Finn (Pro Hac Vice)
   28                                                  tfinn@susmangodfrey.com
                                                       SUSMAN GODFREY L.L.P
                                                   1
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                                                 1301 Avenue of the Americas, 32nd Fl.
    1                                            New York, NY 10019
                                                 Tel: (212) 336-8330
    2                                            Fax: (212) 336-8340
    3                                            Ian M. Gore (Pro Hac Vice)
                                                 igore@susmangodfrey.com
    4                                            SUSMAN GODFREY L.L.P.
                                                 1201 Third Avenue, Suite 3800
    5                                            Seattle, WA 98101
                                                 Tel: (206) 505-3841
    6                                            Fax: (206) 516-3883
    7
                                                 Scott Martin (Pro Hac Vice)
    8                                            smartin@hausfeld.com
                                                 HAUSFELD LLP
    9                                            33 Whitehall Street, 14th Floor
                                                 New York, NY 10004
   10                                            Tel: (646) 357-1100
                                                 Fax: (212) 202-4322
   11
                                                 Christopher L. Lebsock (184546)
   12                                            clebsock@hausfeld.com
                                                 Samuel Maida (333835)
   13                                            smaida@hausfeld.com
                                                 HAUSFELD LLP
   14                                            600 Montgomery St., Suite 3200
                                                 San Francisco, CA 94111
   15                                            Tel: (415) 633-1908
                                                 Fax: (415) 633-4980
   16
                                                 Sathya Gosselin (269171)
   17                                            sgosselin@hausfeld.com
                                                 Farhad Mirzadeh (Pro Hac Vice)
   18                                            fmirzadeh@hausfeld.com
                                                 HAUSFELD LLP
   19                                            888 16th Street, N.W., Suite 300
                                                 Washington, DC 20006
   20                                            Tel: (202) 540-7200
                                                 Fax: (202) 540-7201
   21
                                                 Howard Langer (Pro Hac Vice)
   22                                            hlanger@langergrogan.com
   23
                                                 Edward Diver (Pro Hac Vice)
                                                 ndiver@langergrogan.com
   24                                            Peter Leckman (235721)
                                                 pleckman@langergrogan.com
   25                                            Kevin Trainer (Pro Hac Vice)
                                                 ktrainer@langergrogan.com
   26                                            LANGER GROGAN AND DIVER PC
                                                 1717 Arch Street, Suite 4020
   27                                            Philadelphia, PA 19103
                                                 Tel: (215) 320-5660
   28                                            Fax: (215) 320-5703

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    1                                            Plaintiffs’ Co-Lead Counsel

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